          Case 2:17-cv-04540-WB Document 60 Filed 12/15/17 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                                            CIVIL ACTION
PENNSYLVANIA ,
               Plaintiff,

              v.
                                                           NO. 17-4540
DONALD J. TRUMP, DONALD J.
WRIGHT, UNITED STATES
DEPARTMENT OF HEALTH AND
HUMAN SERVICES, STEVEN T.
MNUCHIN, UNITED STATES
DEPARTMENT OF THE TREASURY,
RENE ALEXANDER ACOSTA AND THE
UNITED STATES DEPARTMENT OF
LABOR,
               Defendants.

                                          ORDER

       AND NOW, this 15th day of December, 2017, upon consideration of the Commonwealth

of Pennsylvania’s Motion for a Preliminary Injunction (ECF No. 9), Defendants’ Response

thereto (ECF No. 15), Plaintiff’s Reply in Support thereof (ECF No. 30), the Administrative

Record (ECF Nos. 23 & 47), Briefs of the Amici Curiae (ECF Nos. 34, 35 & 36), and following

a Hearing on Plaintiff’s Motion on December 14, 2017, IT IS HEREBY ORDERED that the

Motion is GRANTED.

       It is FURTHER ORDERED that Defendants Eric D. Hargan, as Acting Secretary of the

United States Department of Health and Human Services (substituted pursuant to Rule 25(d) of

the Federal Rules of Civil Procedure); the United States Department of Health and Human

Services; Steven T. Mnuchin, as Secretary of the United States Department of Treasury; the

United States Department of Treasury, Rene Alexander Acosta, as Secretary of the United States
           Case 2:17-cv-04540-WB Document 60 Filed 12/15/17 Page 2 of 2



Department of Labor; and the United States Department of Labor;1 and their officers, agents,

servants, employees, attorneys, designees, and subordinates, as well as any person acting in

concert or participation with them, are hereby ENJOINED from enforcing the following Interim

Final Rules pending further order of this Court:

    1. Religious Exemptions and Accommodations for Coverage of Certain Preventive Services
       Under the Affordable Care Act described at 82 Fed. Reg. 47792; and

    2. Moral Exemptions and Accommodations for Coverage of Certain Preventive Services
       Under the Affordable Care Act described at 82 Fed. Reg. 47838.

        The Court has considered the issue of security pursuant to Rule 65(c) of the Federal

Rules of Civil Procedure and determines that Defendants will not suffer any financial loss that

warrants the need for the Plaintiff to post security. After considering the facts and circumstances

of this case, the Court finds that security is unnecessary and exercises its discretion not to require

the posting of security in this situation.


                                                       BY THE COURT:


                                                       /s/Wendy Beetlestone, J.

                                                       _______________________________
                                                       WENDY BEETLESTONE, J.




1
 In light of the constitutional concerns associated with enjoining the President of the United
States for a claim under the Administrative Procedure Act, this injunction does not apply to the
President. See Franklin v. Massachusetts, 505 U.S. 788, 801 (1992).
                                                   2
